                        Case 11-46569                         Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                                                    Desc Main
                                                                              Document     Page 1 of 67
B1 (Official Form 1)(4/10)
                                                  United States Bankruptcy Court
                                                          Northern District of Illinois                                                                             Voluntary Petition
          }
          b
          k
          1
          {
          F
          o
          r
          m
          .
          V
          l
          u
          n
          t
          a
          y
          P
          e
          i




 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Townsend, Deirdre C.


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):
  FKA Deirdre Bates



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-0718
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  417 W. Dempster
  Apt. 1
  Mount Prospect, IL                                                                       ZIP Code                                                                                        ZIP Code
                                                                                         60056
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Cook
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                                     (Check one box)                                                 the Petition is Filed (Check one box)
                       (Check one box)                              Health Care Business                                    Chapter 7
                                                                    Single Asset Real Estate as defined                     Chapter 9                       Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)                            in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.                                                                                  Chapter 11
                                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Corporation (includes LLC and LLP)                             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
                                                                    Commodity Broker
     Partnership
                                                                    Clearing Bank
     Other (If debtor is not one of the above entities,             Other                                                                               Nature of Debts
     check this box and state type of entity below.)                                                                                                     (Check one box)
                                                                            Tax-Exempt Entity
                                                                           (Check box, if applicable)                      Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                    under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                  Case 11-46569                Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                                         Desc Main
                                                               Document     Page 2 of 67
B1 (Official Form 1)(4/10)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Townsend, Deirdre C.
(This page must be completed and filed in every case)
                       All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                            Case Number:                         Date Filed:
Where Filed: Northern District of Illinois, Eastern Division         05-12802                              4/06/05
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                     Exhibit A                                                                                  Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Andrew K. Weiss, Macey Bankruptcy
                                                                                                                                November
                                                                                                                                    Law 17, 2011
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Andrew K. Weiss, Macey Bankruptcy Law #6284233

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                  Case 11-46569                  Doc 1          Filed 11/17/11 Entered 11/17/11 09:14:09                                      Desc Main
                                                                  Document     Page 3 of 67
B1 (Official Form 1)(4/10)                                                                                                                                               Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Townsend, Deirdre C.
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Deirdre C. Townsend                                                              X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Deirdre C. Townsend

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     November 17, 2011
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Andrew K. Weiss, Macey Bankruptcy Law
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Andrew K. Weiss, Macey Bankruptcy Law #6284233                                           debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Macey Bankruptcy Law, P.C.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      Sears Tower
      233 S. Wacker Drive, Suite 5150                                                          Social-Security number (If the bankrutpcy petition preparer is not
      Chicago, IL 60606                                                                        an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      (312) 467-0004 Fax: (312) 467-1832
     Telephone Number
     November 17, 2011
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
               Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09          Desc Main
                                                              Document     Page 4 of 67


B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
 In re     Deirdre C. Townsend                                                                    Case No.
                                                                               Debtor(s)          Chapter    13




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                 Best Case Bankruptcy
                 Case 11-46569                    Doc 1          Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                                                                   Document     Page 5 of 67


B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                           Page 2

                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
            mental deficiency so as to be incapable of realizing and making rational decisions with respect to
            financial responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
            unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
            through the Internet.);
                       Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:          /s/ Deirdre C. Townsend
                                                                                Deirdre C. Townsend
                                                  Date:          November 17, 2011




Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                Best Case Bankruptcy
                   Case 11-46569                      Doc 1     Filed 11/17/11 Entered 11/17/11 09:14:09                   Desc Main
                                                                  Document     Page 6 of 67
B6 Summary (Official Form 6 - Summary) (12/07)


         }
         b
         k
         1
         {
         F
         o
         r
         m
         6
         .
         S
         u
         a
         y
         f
         c
         h
         e
         d
         l
         s




                                                           United States Bankruptcy Court
                                                                   Northern District of Illinois
 In re          Deirdre C. Townsend                                                                        Case No.
                                                                                                    ,
                                                                                   Debtor
                                                                                                           Chapter                       13




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                          ATTACHED          NO. OF        ASSETS                 LIABILITIES                 OTHER
                                                        (YES/NO)         SHEETS

A - Real Property                                         Yes             1                         0.00


B - Personal Property                                     Yes             3                  27,471.01


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             1                                           19,625.00


E - Creditors Holding Unsecured                           Yes             3                                           13,028.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             13                                          83,874.50
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       2,821.00
    Debtor(s)

J - Current Expenditures of Individual                    Yes             2                                                                       2,186.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                27


                                                                    Total Assets             27,471.01


                                                                                     Total Liabilities               116,527.50




Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                  Best Case Bankruptcy
                    Case 11-46569                 Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                       Desc Main
                                                                  Document     Page 7 of 67
Form 6 - Statistical Summary (12/07)


         }
         e
         b
         k
         r
         {
         t
         1
         a
         i
         F
         n
         o
         L
         m
         6
         .
         l
         S
         s
         c
         d
         R
         u
         y
         D
         f
         C




                                                           United States Bankruptcy Court
                                                                   Northern District of Illinois
 In re           Deirdre C. Townsend                                                                                Case No.
                                                                                                         ,
                                                                                       Debtor
                                                                                                                    Chapter               13


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)                                                      0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                         13,028.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                 0.00

             Student Loan Obligations (from Schedule F)                                                      1,275.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                 0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                 0.00

                                                                            TOTAL                        14,303.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                       2,821.00

             Average Expenses (from Schedule J, Line 18)                                                     2,186.00

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                        4,530.38


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                  9,425.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                         11,276.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                  1,752.00

             4. Total from Schedule F                                                                                            83,874.50

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        95,051.50




Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                   Best Case Bankruptcy
                   Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                    Desc Main
                                                                  Document     Page 8 of 67
B6A (Official Form 6A) (12/07)


         }
         b
         k
         1
         {
         S
         c
         h
         e
         d
         u
         l
         A
         -
         R
         a
         P
         r
         o
         p
         t
         y




 In re         Deirdre C. Townsend                                                                        Case No.
                                                                                                 ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption




                      None




                                                                                                 Sub-Total >                  0.00         (Total of this page)

                                                                                                      Total >                 0.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                    Best Case Bankruptcy
                   Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                  Document     Page 9 of 67
B6B (Official Form 6B) (12/07)


         }
         k
         b
         {
         1
         S
         c
         h
         e
         d
         u
         l
         B
         -
         P
         r
         s
         o
         n
         a
         p
         t
         y




 In re         Deirdre C. Townsend                                                                               Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial                Checking account with Chase                                       -                           100.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                  Savings account with Comcast Credit Union                         -                           500.00
      thrift, building and loan, and
      homestead associations, or credit                   Saving account with First Midwest Bank                            -                            98.00
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Miscellaneous used household goods                                -                        1,000.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                X

7.    Furs and jewelry.                               X

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                    Employer - Term Life Insurance - No cash surrender                -                              0.00
      Name insurance company of each                      value
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.




                                                                                                                            Sub-Total >            1,698.00
                                                                                                                (Total of this page)

  2    continuation sheets attached to the Schedule of Personal Property

Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                   Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                 Document     Page 10 of 67
B6B (Official Form 6B) (12/07) - Cont.




 In re         Deirdre C. Townsend                                                                               Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    401(k) through employer                                           -                      12,398.01
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                            Sub-Total >          12,398.01
                                                                                                                (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                   Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                 Document     Page 11 of 67
B6B (Official Form 6B) (12/07) - Cont.




 In re         Deirdre C. Townsend                                                                               Case No.
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2006 Hyundai Sonata with 52,000 miles                              -                     10,200.00
    other vehicles and accessories.
                                                          Value per NADA Clean Retail

                                                          1995 Toyota Corolla with 168,000 miles                             -                       3,175.00

                                                          Value per NADA Clearn Retail

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.



                                                                                                                            Sub-Total >          13,375.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >         27,471.01
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                                    Desc Main
                                                                  Document     Page 12 of 67
 B6C (Official Form 6C) (4/10)


          E
          }
          x
          b
          e
          k
          m
          1
          p
          {
          t
          S
          c
          h
          d
          u
          l
          C
          -
          P
          r
          o
          y
          a
          i
          s




  In re         Deirdre C. Townsend                                                                                    Case No.
                                                                                                           ,
                                                                                       Debtor

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                          Value of                 Current Value of
                  Description of Property                                         Each Exemption                              Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking account with Chase                             735 ILCS 5/12-1001(b)                                                          100.00                           100.00

Savings account with Comcast Credit Union                                 735 ILCS 5/12-1001(b)                                        500.00                           500.00

Saving account with First Midwest Bank                                    735 ILCS 5/12-1001(b)                                          98.00                            98.00

Household Goods and Furnishings
Miscellaneous used household goods                                        735 ILCS 5/12-1001(b)                                      1,000.00                         1,000.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
401(k) through employer                                735 ILCS 5/12-1006                                                                100%                       12,398.01

Automobiles, Trucks, Trailers, and Other Vehicles
1995 Toyota Corolla with 168,000 miles                                    735 ILCS 5/12-1001(c)                                      2,400.00                         3,175.00
                                                                          735 ILCS 5/12-1001(b)                                        775.00
Value per NADA Clearn Retail




                                                                                                           Total:                  17,271.01                        17,271.01
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                                       Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                                  Desc Main
                                                                  Document     Page 13 of 67
 B6D (Official Form 6D) (12/07)


          }
          e
          b
          c
          k
          u
          1
          r
          {
          S
          d
          h
          C
          l
          a
          i
          m
          s
          D
          -
          t
          o
          H
          n
          g




  In re         Deirdre C. Townsend                                                                                       Case No.
                                                                                                             ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W           NATURE OF LIEN, AND                           I    Q   U                             PORTION, IF
                                                        T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                           SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. xxxxxxxxxxxxx9001                                   Opened 6/01/06 Last Active 5/12/08                         E
                                                                                                                           D

Wells Fargo                                                     Automobile Lien
Po Box 60510
                                                                2006 Hyundai Sonata with 52,000 miles
Los Angeles, CA 90060
                                                            -
                                                                Value per NADA Clean Retail
                                                                Value $                               10,200.00                           19,625.00                  9,425.00
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
                                                                                                                   Subtotal
 0
_____ continuation sheets attached                                                                                                        19,625.00                  9,425.00
                                                                                                          (Total of this page)
                                                                                                                     Total                19,625.00                  9,425.00
                                                                                           (Report on Summary of Schedules)

 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                                    Best Case Bankruptcy
                   Case 11-46569                    Doc 1          Filed 11/17/11 Entered 11/17/11 09:14:09                                           Desc Main
                                                                    Document     Page 14 of 67
B6E (Official Form 6E) (4/10)


         }
         n
         b
         s
         k
         e
         1
         c
         {
         u
         S
         r
         h
         d
         P
         l
         i
         o
         E
         t
         -
         y
         C
         a
         m
         H
         g
         U




 In re         Deirdre C. Townsend                                                                                                Case No.
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            2         continuation sheets attached
Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                                       Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                               Desc Main
                                                                  Document     Page 15 of 67
 B6E (Official Form 6E) (4/10) - Cont.




  In re         Deirdre C. Townsend                                                                                     Case No.
                                                                                                           ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                    Taxes and Certain Other Debts
                                                                                                                     Owed to Governmental Units
                                                                                                                                 TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                      C    U   D
            CREDITOR'S NAME,                            O                                                           O    N   I                      AMOUNT NOT
                                                        D                                                           N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                    OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                       N    U   T                                AMOUNT
                                                        O                                                           G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                       E    D   D
                                                                                                                    N    A
                                                                                                                                                              PRIORITY
                                                                                                                    T    T
Account No. xxx-xx-0718                                         2008                                                     E
                                                                                                                         D

Illinois Department of Revenue                                  Back Taxes
Bankruptcy Section                                                                                                                                  0.00
Level 7-425, 100 W Randolph St
                                                            -
Chicago, IL 60106

                                                                                                                                        1,500.00              1,500.00
Account No. xxx-xx-0718                                         2010

Illinois Department of Revenue                                  Back Taxes
Bankruptcy Section                                                                                                                                  0.00
Level 7-425, 100 W Randolph St
                                                            -
Chicago, IL 60106

                                                                                                                                          144.00                144.00
Account No. xxx-xx-0718                                         2009

Illinois Department of Revenue                                  Back Taxes
Bankruptcy Section                                                                                                                                  0.00
Level 7-425, 100 W Randolph St
                                                            -
Chicago, IL 60106

                                                                                                                                          252.00                252.00
Account No. xxx-xx-0718                                         2007

Illinois Department of Revenue                                  Back Taxes
Bankruptcy Section                                                                                                                                  237.00
Level 7-425, 100 W Randolph St
                                                            -
Chicago, IL 60106

                                                                                                                                          237.00                    0.00
Account No. xxx-xx-0718                                         2008

IRS                                                             Back Taxes
Special Procedures - Insolvency                                                                                                                     0.00
PO Box 7346
                                                            -
Philadelphia, PA 19101

                                                                                                                                        4,438.00              4,438.00
       1
Sheet _____    2
            of _____  continuation sheets attached to                                                            Subtotal                           237.00
Schedule of Creditors Holding Unsecured Priority Claims                                                 (Total of this page)            6,571.00              6,334.00




 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                             Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                                Desc Main
                                                                  Document     Page 16 of 67
 B6E (Official Form 6E) (4/10) - Cont.




  In re         Deirdre C. Townsend                                                                                      Case No.
                                                                                                            ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No. xxx-xx-0718                                         2010                                                      E
                                                                                                                          D

IRS                                                             Back Taxes
Special Procedures - Insolvency                                                                                                                      0.00
PO Box 7346
                                                            -
Philadelphia, PA 19101

                                                                                                                                           763.00                 763.00
Account No. xxx-xx-0718                                         2009

IRS                                                             Back Taxes
Special Procedures - Insolvency                                                                                                                      0.00
PO Box 7346
                                                            -
Philadelphia, PA 19101

                                                                                                                                         4,179.00               4,179.00
Account No. xxx-xx-0718                                         2007

IRS                                                             Back Taxes
Special Procedures - Insolvency                                                                                                                      1,515.00
PO Box 7346
                                                            -
Philadelphia, PA 19101

                                                                                                                                         1,515.00                     0.00
Account No.




Account No.




       2
Sheet _____    2
            of _____  continuation sheets attached to                                                             Subtotal                           1,515.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)            6,457.00               4,942.00
                                                                                                                     Total                           1,752.00
                                                                                           (Report on Summary of Schedules)             13,028.00           11,276.00

 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                               Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                                    Desc Main
                                                                  Document     Page 17 of 67
 B6F (Official Form 6F) (12/07)


          }
          n
          b
          s
          k
          e
          1
          c
          {
          u
          S
          r
          h
          d
          N
          o
          l
          p
          F
          i
          -
          C
          t
          y
          a
          m
          H
          g
          U




  In re         Deirdre C. Townsend                                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxx-xx-0718                                                       2009                                                          T   T
                                                                                                                                                E
                                                                              Medical Bills                                                     D

Advanced Radiology Consultants S.C.
520 E 22nd St                                                             -
Lombard, IL 60148

                                                                                                                                                                         114.00
Account No. xxx-xx-0718                                                       2009
                                                                              Medical Bills
Advocate Lutheran General Hospital
1775 Dempster St                                                          -
Park Ridge, IL 60068

                                                                                                                                                                         185.00
Account No. xx1900                                                            Feb. 2008
                                                                              Medical
Alex Brothers Outpatient Group
1650 Moon Lake Blvd.                                                      -
Hoffman Estates, IL 60169

                                                                                                                                                                           25.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
Allied Interstate                                                             For Capital One Bank
3000 Corporate Exchange Dr                                                -
5th Floor
Columbus, OH 43231
                                                                                                                                                                             0.00

                                                                                                                                        Subtotal
 12 continuation sheets attached
_____                                                                                                                                                                    324.00
                                                                                                                              (Total of this page)




 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                   S/N:20274-111102   Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                  Document     Page 18 of 67
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Deirdre C. Townsend                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxx-xx-0718                                                       2010                                                    E
                                                                              Collection notice                                       D

AlliedInterstate                                                              For LVNV Funding
3000 Corporate Exchange Dr.                                               -
5th Floor
Columbus, OH 43231
                                                                                                                                                                0.00
Account No. xxxx9822                                                          Opened 4/01/07
                                                                              CollectionAttorney A.F.S. Assignee Of Hsbc Bank
Arrow Financial Services                                                      N
5996 W Touhy Ave                                                          -
Niles, IL 60714

                                                                                                                                                          1,802.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
Asset Acceptance                                                              For Chase
PO Box 2036                                                               -
Warren, MI 48090

                                                                                                                                                                0.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
Asset Acceptance                                                              For World Financial Bank
PO Box 2036                                                               -
Warren, MI 48090

                                                                                                                                                                0.00
Account No. xxx-xx-0718                                                       2007
                                                                              Collection
Bank of America
1422 E. Grayson                                                           -
San Antonio, TX 78208

                                                                                                                                                          6,624.00

           1
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          8,426.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                  Document     Page 19 of 67
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Deirdre C. Townsend                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxx-xx-0718                                                       2010                                                    E
                                                                              Collection notice                                       D

Bowman, Heintz, Boscia and Vician                                             For Ford Motor Credit Company
8605 Broadway                                                             -
Merrillville, IN 46410-7033

                                                                                                                                                                0.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
Capital Management Services, LP                                               For LVNV Funding
726 Exchange St.                                                          -
Suite 700
Buffalo, NY 14210
                                                                                                                                                                0.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
Capital Management Services, LP                                               For Arrow Financail Services LLC
726 Exchange St.                                                          -
Suite 700
Buffalo, NY 14210
                                                                                                                                                                0.00
Account No. xxxxxxxx8278                                                      Opened 8/01/05 Last Active 1/04/08
                                                                              CreditCard
Capital One Bank
Attn: C/O TSYS Debt Management                                            -
Po Box 5155
Norcross, GA 30091
                                                                                                                                                            451.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
CBCS                                                                          For Kohl's
PO Box 69                                                                 -
Columbus, OH 43216

                                                                                                                                                                0.00

           2
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                            451.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                  Document     Page 20 of 67
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Deirdre C. Townsend                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxx7698                                                      Opened 12/24/05 Last Active 4/19/06                     E
                                                                              CreditCard                                              D

Chase
Attn: Bankruptcy Dept                                                     -
Po Box 100018
Kennesaw, GA 30156
                                                                                                                                                          1,414.00
Account No. xxx-xx-0718                                                       2010
                                                                              Medical Bills
Clinical Associates
1460 Market St.                                                           -
Suite 300
Des Plaines, IL 60016-4643
                                                                                                                                                            990.00
Account No. xxx-xx-0718                                                       2008
                                                                              Court fees
Cook County Treasurer
118 N Clark St                                                            -
Room 112
Chicago, IL 60602
                                                                                                                                                            168.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
Credit Collection Services                                                    For Quest Diagnostics
2 Wells Ave                                                               -
Newton Center, MA 02459

                                                                                                                                                                0.00
Account No. xxxxxx9645                                                        Opened 11/12/05 Last Active 7/28/06
                                                                              Collection
Daimlerchrys
5225 Crooks Rd Ste 140                                                    -
Troy, MI 48098

                                                                                                                                                          5,144.00

           3
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          7,716.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                  Document     Page 21 of 67
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Deirdre C. Townsend                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxx2288                                                        Opened 8/27/04 Last Active 9/15/06                      E
                                                                              Collection                                              D

Daimlerchrys
5225 Crooks Rd Ste 140                                                    -
Troy, MI 48098

                                                                                                                                                          2,818.00
Account No. xxxxx9557                                                         Opened 2/01/06 Last Active 6/01/07
                                                                              ChargeAccount
Dsnb Macys
Attn: Bankruptcy                                                          -
6356 Corley Rd
Norcross, GA 30071
                                                                                                                                                          1,266.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
Enhanced Recovery Company LLC                                                 For Chrysler Financial
8014 Bayberry Rd                                                          -
Jacksonville, FL 32256

                                                                                                                                                                0.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
FMA Alliance                                                                  For Chase
11811 North Freeway                                                       -
Suite 900
Houston, TX 77060
                                                                                                                                                                0.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
FMS Inc                                                                       For Chase
4915 S Union Ave                                                          -
Tulsa, OK 74107

                                                                                                                                                                0.00

           4
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          4,084.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                  Document     Page 22 of 67
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Deirdre C. Townsend                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxx-xx-0718                                                       2005                                                    E
                                                                              Collection                                              D

Ford Motor Credit Company
Ford Credit National Bankruptcy Ctr                                       -
Po Box 537901
Livonia, MI 48153
                                                                                                                                                        14,326.00
Account No. xxx-xx-0718                                                       2007
                                                                              Collection notice
Freedman Anselmo Lindberg & Rapp                                              For Chrysler Financial
1807 W. Diehl Rd., Suite 333                                              -
PO Box 3228
Naperville, IL 60566-1487
                                                                                                                                                                0.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
Global Credit & Collection Corp                                               For Capital One Bank
300 International Drive                                                   -
Suite 100, Box 201
Buffalo, NY 14221
                                                                                                                                                                0.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
Grawbowski Law Center LLC                                                     For Holy Family Medical Center
1400 E. Lake Cook Rd.                                                     -
Suite 110
Buffalo Grove, IL 60089-8218
                                                                                                                                                                0.00
Account No. xxx-xx-0718                                                       2008
                                                                              Collection
Helzberg Diamonds
4109 N Harlem Ave.                                                        -
Norridge, IL 60706

                                                                                                                                                          2,395.00

           5
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        16,721.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                  Document     Page 23 of 67
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Deirdre C. Townsend                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxx-xx-0718                                                       2009                                                    E
                                                                              Medical Bills                                           D

Holy Family Medical Center
3147 West Cermak Rd.                                                      -
Chicago, IL 60623

                                                                                                                                                        17,660.00
Account No. xx4879                                                            Opened 12/22/05 Last Active 4/18/06
                                                                              ChargeAccount
Hsbc/carsn
Po Box 9068                                                               -
Brandon, FL 33509

                                                                                                                                                          1,396.00
Account No. xxx9102                                                           Opened 4/01/05
                                                                              CollectionAttorney Holy Family Medical Center
Illinois Collection Se
8231 W. 185th St. Ste. 100                                                -
Tinley Park, IL 60487

                                                                                                                                                            285.00
Account No. xxx8298                                                           Opened 4/01/05
                                                                              CollectionAttorney Holy Family Medical Center
Illinois Collection Se                                                        Eme
8231 W. 185th St. Ste. 100                                                -
Tinley Park, IL 60487

                                                                                                                                                            166.00
Account No. xxxxx4944                                                         Opened 9/01/02
                                                                              Fingerhut Credit Advantage
Jefferson Capital Syst
16 Mcleland Rd                                                            -
Saint Cloud, MN 56303

                                                                                                                                                            211.00

           6
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                        19,718.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                  Document     Page 24 of 67
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Deirdre C. Townsend                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxx8825                                                        Opened 2/01/07 Last Active 9/12/07                      E
                                                                              ChargeAccount                                           D

Kay Jewelers
Attention: Bankruptcy                                                     -
Po Box 1799
Akron, OH 44309
                                                                                                                                                            681.00
Account No. xxxxxxxx1752                                                      Opened 12/01/05 Last Active 4/18/06
                                                                              CreditCard
Kohls
Attn: Recovery                                                            -
Po Box 3120
Milwaukee, WI 53201
                                                                                                                                                            704.00
Account No. xxx-xx-0718                                                       2009
                                                                              Collection notice
LVNV Funding                                                                  For Bank of America
PO Box 740281                                                             -
Houston, TX 77274

                                                                                                                                                                0.00
Account No. xxx-xx-0718                                                       2009
                                                                              Collection notice
LVNV Funding                                                                  For Helzberg Diamonds
PO Box 740281                                                             -
Houston, TX 77274

                                                                                                                                                                0.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
LVNV Funding                                                                  For HSBC
PO Box 740281                                                             -
Houston, TX 77274

                                                                                                                                                                0.00

           7
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          1,385.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                  Document     Page 25 of 67
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Deirdre C. Townsend                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxx-xx-0718                                                       2005                                                    E
                                                                              Collection                                              D

MCI
PO Box 4600                                                               -
Iowa City, IA 52244-4600

                                                                                                                                                            133.00
Account No. xxxxx6X12                                                         Med1 Enh Div Of Anesthesia

Med Busi Bur
1460 Renaissance D                                                        -
Park Ridge, IL 60068

                                                                                                                                                          1,187.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection
MiraMed Revenue Group
PO Box 536                                                                -
Linden, MI 48451

                                                                                                                                                            222.00
Account No. xxx-xx-0718                                                       2008
                                                                              Collection
Monroe & Main
1112 7th Ave                                                              -
Monroe, WI 53566

                                                                                                                                                            359.00
Account No. xxx7675                                                           Opened 4/01/05
                                                                              CollectionAttorney Good Shepherd Hospital
Mrsi
2250 E Devon Ave Ste 352                                                  -
Des Plaines, IL 60018

                                                                                                                                                            243.00

           8
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          2,144.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                  Document     Page 26 of 67
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Deirdre C. Townsend                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxx6956                                                           Opened 6/01/05                                          E
                                                                              CollectionAttorney Good Shepherd Hospital               D

Mrsi
2250 E Devon Ave Ste 352                                                  -
Des Plaines, IL 60018

                                                                                                                                                            165.00
Account No. xxx2980                                                           12 Crossing Pointe

Paragonway
2101 West Ben Whit                                                        -
Austin, TX 78704

                                                                                                                                                            223.00
Account No. xxx-xx-0718                                                       2009
                                                                              Collection
Park Dansan
113 W 3rd Ave.                                                            -
PO Box 248
Gastonia, NC 28053
                                                                                                                                                            265.00
Account No. xxx-xx-0718                                                       2010
                                                                              Medical Bills
Park Ridge Anesthesiology
PO Box 1123                                                               -
Jackson, MI 49204

                                                                                                                                                              57.00
Account No. xxxxxx0235                                                        July 2007
                                                                              Medical
Quest Diagnostics
PO Box 64804                                                              -
Baltimore, MD 21264

                                                                                                                                                            174.50

           9
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                            884.50
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                  Document     Page 27 of 67
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Deirdre C. Townsend                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxx-xx-0718                                                       2010                                                    E
                                                                              Collection notice                                       D

Redline Recovery Services                                                     For LVNV Funding
2350 N Forest Rd                                                          -
Suite 31B
Getzville, NY 14068
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx4582                                                  Opened 12/01/06
                                                                              Bank Of America
Resurgent Capital Service/Sherman
Acquis                                                                    -
Attention: Bankruptcy Department
Po Box 10587
Greenville, SC 29603                                                                                                                                      6,502.00
Account No. xxxxxxxx0003                                                      Opened 3/20/07
                                                                              Collection
Resurgent Capital Service/Sherman
Acquis                                                                    -
Attention: Bankruptcy Department
Po Box 10587
Greenville, SC 29603                                                                                                                                      2,340.00
Account No. xxx-xx-0718                                                       2010
                                                                              Medical Bills
Resurrection Medical Center
7435 W Talcott Ave                                                        -
Chicago, IL 60631

                                                                                                                                                          6,280.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
Richard J Boudreau & Associates                                               For LVNV Funding
5 Industrial Way                                                          -
Salem, NH 03079

                                                                                                                                                                0.00

           10 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                        15,122.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                                  Document     Page 28 of 67
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Deirdre C. Townsend                                                                                Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxx-xx-0718                                                       2008                                                    E
                                                                              Collection                                              D

Stores National Bank
701 East 60th St.                                                         -
Sioux Falls, SD 57104

                                                                                                                                                          1,266.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
Superior Asset Inc.                                                           For Arrow Financial Services
1000 Abernathy Rd.                                                        -
Suite 165
Atlanta, GA 30328
                                                                                                                                                                0.00
Account No. xxx-xx-0718                                                       2010
                                                                              Collection notice
Universal Fidelity LP                                                         For Stores National Bank
1445 Langham Creek Drive                                                  -
Houston, TX 77084

                                                                                                                                                                0.00
Account No. xxx-xx-0718                                                       2008
                                                                              Student Loan
US Dept of Education
501 Bleecker St                                                           -
Utica, NY 13501

                                                                                                                                                          1,275.00
Account No. xxxxxxxxxxxx0001                                                  Opened 5/01/05 Last Active 2/21/07
                                                                              Educational
Wells Fargo Ed Fin Svc
Attn: Collection Servicing, 1st Floor, M                                  -
1 Home Campus
Des Moines, IA 50328
                                                                                                                                                          3,378.00

           11 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                          5,919.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                    Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                                 Desc Main
                                                                  Document     Page 29 of 67
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Deirdre C. Townsend                                                                                      Case No.
                                                                                                                ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxxxxxxxxxx4358                                                  Opened 12/01/05 Last Active 12/12/06                           E
                                                                              ChargeAccount                                                  D

Wfnnb/newport News
995 W 122nd Ave                                                           -
Westminster, CO 80234

                                                                                                                                                                   480.00
Account No. xxxxxxxxxxxxx0599                                                 Opened 2/12/06 Last Active 12/12/06
                                                                              ChargeAccount
Work Finanacial Bank
Po Box 182125                                                             -
Columbus, OH 43218

                                                                                                                                                                   500.00
Account No.




Account No.




Account No.




           12 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                                   Subtotal
                                                                                                                                                                   980.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)                83,874.50


 Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                                Best Case Bankruptcy
                      Case 11-46569               Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                         Desc Main
                                                                 Document     Page 30 of 67
B6G (Official Form 6G) (12/07)


          a
          }
          n
          b
          d
          k
          1
          U
          {
          S
          e
          c
          x
          h
          p
          i
          r
          u
          l
          L
          G
          -
          s
          E
          t
          o
          y
          C




 In re             Deirdre C. Townsend                                                                         Case No.
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                   Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                  Desc Main
                                                                 Document     Page 31 of 67
B6H (Official Form 6H) (12/07)


          }
          b
          k
          1
          {
          S
          c
          h
          e
          d
          u
          l
          H
          -
          C
          o
          t
          r
          s




 In re          Deirdre C. Townsend                                                                     Case No.
                                                                                              ,
                                                                             Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
Software Copyright (c) 1996-2011 - CCH INCORPORATED - www.bestcase.com                                                                 Best Case Bankruptcy
              Case 11-46569             Doc 1        Filed 11/17/11 Entered 11/17/11 09:14:09                             Desc Main
                                                      Document     Page 32 of 67

B6I (Official Form 6I) (12/07)
 In re    Deirdre C. Townsend                                                                           Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Separated                              None.

Employment:                                           DEBTOR                                                       SPOUSE
Occupation                         Router
Name of Employer                   Comcast
How long employed                  10 years
Address of Employer                1500 McConnor
                                   Schaumburg, IL 60194
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       3,175.00         $            N/A
2. Estimate monthly overtime                                                                             $           0.00         $            N/A

3. SUBTOTAL                                                                                              $         3,175.00       $                 N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             924.00     $                 N/A
     b. Insurance                                                                                        $             129.00     $                 N/A
     c. Union dues                                                                                       $               0.00     $                 N/A
     d. Other (Specify):       Health Care Reimb Acct                                                    $             108.00     $                 N/A
                               401(k) Loan                                                               $              93.00     $                 N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $         1,254.00       $                 N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         1,921.00       $                 N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00     $                 N/A
8. Income from real property                                                                             $               0.00     $                 N/A
9. Interest and dividends                                                                                $               0.00     $                 N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $                 N/A
11. Social security or government assistance
(Specify):                                                                                               $               0.00     $                 N/A
                                                                                                         $               0.00     $                 N/A
12. Pension or retirement income                                                                         $               0.00     $                 N/A
13. Other monthly income
(Specify):           Commission (avg. net)                                                               $             900.00     $                 N/A
                                                                                                         $               0.00     $                 N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             900.00     $                 N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         2,821.00       $                 N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            2,821.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Debtor's 401(k) loan ends in January 2015.
            Case 11-46569         Doc 1      Filed 11/17/11 Entered 11/17/11 09:14:09                      Desc Main
                                              Document     Page 33 of 67

B6J (Official Form 6J) (12/07)
 In re    Deirdre C. Townsend                                                                 Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                   950.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                    55.00
                   b. Water and sewer                                                                       $                     0.00
                   c. Telephone                                                                             $                     0.00
                   d. Other See Detailed Expense Attachment                                                 $                   150.00
3. Home maintenance (repairs and upkeep)                                                                    $                     0.00
4. Food                                                                                                     $                   300.00
5. Clothing                                                                                                 $                    28.00
6. Laundry and dry cleaning                                                                                 $                    45.00
7. Medical and dental expenses                                                                              $                    30.00
8. Transportation (not including car payments)                                                              $                   300.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                     0.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                    88.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   140.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other Personal Grooming                                                                                 $                    50.00
    Other Car repairs                                                                                       $                    50.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 2,186.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 2,821.00
b. Average monthly expenses from Line 18 above                                                              $                 2,186.00
c. Monthly net income (a. minus b.)                                                                         $                   635.00
            Case 11-46569        Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09     Desc Main
                                          Document     Page 34 of 67

B6J (Official Form 6J) (12/07)
 In re    Deirdre C. Townsend                                              Case No.
                                                        Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                           Detailed Expense Attachment
Other Utility Expenditures:
Cable/Internet/Telephone                                                              $            50.00
Cell                                                                                  $           100.00
Total Other Utility Expenditures                                                      $           150.00
                Case 11-46569                    Doc 1      Filed 11/17/11 Entered 11/17/11 09:14:09                     Desc Main
                                                             Document     Page 35 of 67
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
 In re      Deirdre C. Townsend                                                                              Case No.
                                                                                   Debtor(s)                 Chapter    13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of          29
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date November 17, 2011                                                Signature   /s/ Deirdre C. Townsend
                                                                                   Deirdre C. Townsend
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                            Best Case Bankruptcy
                 Case 11-46569                Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                             Desc Main
                                                             Document     Page 36 of 67
B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
 In re       Deirdre C. Townsend                                                                               Case No.
                                                                                Debtor(s)                      Chapter        13


                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $48,116.00                        Employment income - 2009
                          $44,485.00                        Employment income - 2010
                          $42,784.87                        Employment income - 2011 YTD




Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                                           Best Case Bankruptcy
                Case 11-46569                 Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                         Desc Main
                                                             Document     Page 37 of 67

                                                                                                                                                             2

              2. Income other than from employment or operation of business

      None    State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
              each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
              petition is filed, unless the spouses are separated and a joint petition is not filed.)

                        AMOUNT                              SOURCE
                        $8,297.00                           Non-Employment income - Pensions - 2009

              3. Payments to creditors

      None    Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
              of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                     DATES OF                                                      AMOUNT STILL
       OF CREDITOR                                                       PAYMENTS                            AMOUNT PAID                 OWING

      None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                         DATES OF                                  PAID OR
                                                                         PAYMENTS/                               VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                         TRANSFERS                              TRANSFERS                OWING

      None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                          DATE OF PAYMENT                     AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

      None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                    NATURE OF       COURT OR AGENCY                                   STATUS OR
    AND CASE NUMBER                                                    PROCEEDING      AND LOCATION                                      DISPOSITION
    Holey Family Medical Center v. Deirdre C.                          Civil           Cook County, Illinois                             Judgment
    Townsend                                                                                                                             Entered
    10 M1 197752
    Daimerchrysler Financial Services Americas LLC                     Civil           Cook County, Illinois                             Judgment
    dba Chrysler Financial                                                                                                               Entered
    07 M1 192314




*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
               Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                        Desc Main
                                                             Document     Page 38 of 67

                                                                                                                                                           3
   None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                       DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE            PROPERTY

             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,         DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                 PROPERTY

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                    TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                        DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                  ORDER                    PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                    DATE OF GIFT             VALUE OF GIFT
Second Baptish Church                                     Supporter                          Monthly                 $50.00 per month
1717 Benson Ave.
Evanston, IL 60201
United Way                                                Support                            Bi-Weekly               $1.00 by-weekly
560 West Lake St.
Chicago, IL 60661

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS


Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                                     Best Case Bankruptcy
               Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                             Document     Page 39 of 67

                                                                                                                                                              4

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                                 AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                         OR DESCRIPTION AND VALUE
    OF PAYEE                                                                THAN DEBTOR                                       OF PROPERTY
Macey Bankruptcy Law                                                   2011                                          $1710.00 paid pre-petition
233 s Wacker Drive Suite 5150                                                                                        toward total attorney fee of
Chicago, IL 60606                                                                                                    $3500.00, filing fee of $306.00,
                                                                                                                     and other reimbursable
                                                                                                                     expenses of $143.00 ($2,239.00
                                                                                                                     to be paid in chapter 13 plan).

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                                        Best Case Bankruptcy
               Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                        Desc Main
                                                             Document     Page 40 of 67

                                                                                                                                                           5


NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                 LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                     DATES OF OCCUPANCY

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                 STATUS OR DISPOSITION




Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                                     Best Case Bankruptcy
               Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                             Document     Page 41 of 67

                                                                                                                                                             6

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED




Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
               Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                          Desc Main
                                                             Document     Page 42 of 67

                                                                                                                                                              7

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)




Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                                        Best Case Bankruptcy
               Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                               Desc Main
                                                             Document     Page 43 of 67

                                                                                                                                                                   8

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)


                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date November 17, 2011                                                 Signature   /s/ Deirdre C. Townsend
                                                                                   Deirdre C. Townsend
                                                                                   Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                                             Best Case Bankruptcy
                Case 11-46569                 Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                           Desc Main
                                                             Document     Page 44 of 67

                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
 In re       Deirdre C. Townsend                                                                              Case No.
                                                                               Debtor(s)                      Chapter       13


                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,500.00
             Prior to the filing of this statement I have received                                        $                  1,261.00
             Balance Due                                                                                  $                  2,239.00

2.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

3.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 In Chapter 13 cases, the Model Retention Agreement is hereby incorporated by reference.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtor(s) in any adversary proceedings.
                                                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       November 17, 2011                                                /s/ Andrew K. Weiss, Macey Bankruptcy Law
                                                                              Andrew K. Weiss, Macey Bankruptcy Law #6284233
                                                                              Macey Bankruptcy Law, P.C.
                                                                              Sears Tower
                                                                              233 S. Wacker Drive, Suite 5150
                                                                              Chicago, IL 60606
                                                                              (312) 467-0004 Fax: (312) 467-1832




Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                         Document     Page 45 of 67
Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                         Document     Page 46 of 67
Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                         Document     Page 47 of 67
Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                         Document     Page 48 of 67
Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                         Document     Page 49 of 67
Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                         Document     Page 50 of 67
Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                         Document     Page 51 of 67
Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                         Document     Page 52 of 67
   Case 11-46569              Doc 1       Filed 11/17/11 Entered 11/17/11 09:14:09     Desc Main
                                           Document     Page 53 of 67




                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF ILLINOIS

                   RIGHTS AND RESPONSIBILITIES AGREEMENT BETWEEN
                        CHAPTER 13 DEBTORS AND THEIR ATTORNEYS
                 (Court-Approved Retention Agreement, revised as of March 15, 2011)
            Chapter 13 gives debtors important rights, such as the right to keep property that could
    otherwise be lost through repossession or foreclosure—but Chapter 13 also puts burdens on
    debtors, such as the burden of making complete and truthful disclosures of their financial
    situation. It is important for debtors who file a Chapter 13 bankruptcy case to understand their
    rights and responsibilities in bankruptcy. In this connection, the advice of an attorney is often
    crucial. Debtors are entitled to certain services from by their attorneys, but debtors also have
    responsibilities to their attorneys. In order to assure that debtors and their attorneys
    understand their rights and responsibilities in the Chapter 13 process, the judges of the
    Bankruptcy Court for the Northern District of Illinois have approved the following agreement,
    setting out the rights and responsibilities of both debtors in Chapter 13 and their attorneys. By
    signing this agreement, debtors and their attorneys accept these responsibilities.
    BEFORE THE CASE IS FILED
                        THE DEBTOR AGREES TO:
    1. Discuss with the attorney the debtor's objectives in filing the case.
    2. Provide the attorney with full, accurate and timely information, financial and otherwise,
    including properly documented proof of income.
                        THE ATTORNEY AGREES TO:
    1. Personally counsel the debtor regarding the advisability of filing either a Chapter 13 or a
    Chapter 7 case, discuss both procedures (as well as non-bankruptcy options) with the debtor,
    and answer the debtor’s questions.
    2. Personally explain to the debtor that the attorney is being engaged to represent the debtor
    on all matters arising in the case, as required by Local Bankruptcy rule and explain how and
    when the attorney’s fees and the trustee’s fees are determined and paid.
    3. Personally review with the debtor and sign the completed petition, plan, statements, and
    schedules, as well as all amendments thereto, whether filed with the petition or later. (The
    schedules may be initially prepared with the help of clerical or paralegal staff of the attorney’s
    office, but personal attention of the attorney is required for the review and signing.)
    4. Timely prepare and file the debtor’s petition, plan, statements, and schedules.




Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com               Best Case Bankruptcy
   Case 11-46569              Doc 1       Filed 11/17/11 Entered 11/17/11 09:14:09     Desc Main
                                           Document     Page 54 of 67




    5. Explain to the debtor how, when, and where to make all necessary payments, including
    both payments that must be made directly to creditors and payments that must be made to the
    Chapter 13 trustee, with particular attention to housing and vehicle payments.
    6. Advise the debtor of the need to maintain appropriate insurance.
    AFTER THE CASE IS FILED
                        THE DEBTOR AGREES TO:
    1. Make the required payments to the trustee and to whatever creditors are being paid directly,
    or, if required payments cannot be made, to notify the attorney immediately.
    2. Appear punctually at the meeting of creditors (also called the "341 meeting") with recent
    proof of income and a picture identification card. (If the identification card does not include
    the debtor's social security number, the debtor will also bring to the meeting a social security
    card.) The debtor must be present in time for check-in and when the case is called for the
    actual examination.
    3. Notify the attorney of any change in the debtor's address or telephone number.
    4. Inform the attorney of any wage garnishments or liens or levies on assets that occur or
    continue after the filing of the case.
    5. Contact the attorney immediately if the debtor loses employment, has a significant change
    in income, or experiences any other significant change in financial situation (such as serious
    illness, marriage, divorce or separation, lottery winnings, or an inheritance).
    6. Notify the attorney if the debtor is sued or wishes to file a lawsuit (including divorce).
    7. Inform the attorney if any tax refunds to which the debtor is entitled are seized or not
    received when due from the IRS or Illinois Department of Revenue.
    8. Contact the attorney before buying, refinancing, or selling real property, and before
    entering into any loan agreement.
    9. Supply the attorney with copies of all tax returns filed while the case is pending.
                         THE ATTORNEY AGREES TO:
    1. Advise the debtor of the requirement to attend the meeting of creditors, and notify the
    debtor of the date, time, and place of the meeting.
    2. Inform the debtor that the debtor must be punctual and, in the case of a joint filing, that
    both spouses must appear at the same meeting.
    3. Provide knowledgeable legal representation for the debtor at the meeting of creditors (in
    time for check-in and the actual examination) and, unless excused by the trustee, for the
    confirmation hearing.
    4. If the attorney will be employing another attorney to attend the 341meeting or any court
    hearing, personally explain to the debtor in advance, the role and identity of the other attorney

                                                                2
Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com               Best Case Bankruptcy
   Case 11-46569              Doc 1       Filed 11/17/11 Entered 11/17/11 09:14:09    Desc Main
                                           Document     Page 55 of 67




    and provide the other attorney with the file in sufficient time to review it and properly
    repre-sent the debtor.
    5. Timely submit to the Chapter 13 trustee properly documented proof of income for the
    debtor, including business reports for self-employed debtors.
    6. Timely respond to objections to plan confirmation and, where necessary, prepare, file, and
    serve an amended plan.
    7. Timely prepare, file, and serve any necessary statements, amended statements and
    schedules and any change of address, in accordance with information provided by the debtor.
    8. Monitor all incoming case information (including, but not limited to, Order Confirming
    Plan, Notice of Intent to Pay Claims, and 6-month status reports) for accuracy and
    com-pleteness. Contact the trustee promptly regarding any discrepancies.
    9. Be available to respond to the debtor’s questions throughout the term of the plan.
    10. Prepare, file, and serve timely modifications to the plan after confirmation, when
    necessary, including modifications to suspend, lower, or increase plan payments.
    11. Prepare, file, and serve necessary motions to buy or sell property and to incur debt.
    12. Object to improper or invalid claims.
    13. Timely respond to the Chapter 13 trustee’s motions to dismiss the case, such as for
    payment default, or unfeasibility, and to motions to increase the percentage payment to
    unsecured creditors.
    14. Timely respond to motions for relief from stay.
    15. Prepare, file, and serve all appropriate motions to avoid liens.
    16. Provide any other legal services necessary for the administration of the case.
ALLOWANCE AND PAYMENT OF ATTORNEYS' FEES
1. Any attorney retained to represent a debtor in a Chapter 13 case is responsible for representing
the debtor on all matters arising in the case unless otherwise ordered by the court. For all of the
services outlined above, the attorney will be paid a fee of




                                                                3
Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com              Best Case Bankruptcy
   Case 11-46569              Doc 1       Filed 11/17/11 Entered 11/17/11 09:14:09                       Desc Main
                                           Document     Page 56 of 67




                                                       $     3,500.00      .
Prior to signing this agreement the attorney has received $ 1,261.00 , leaving a balance due of
$ 2,239.00 . In extraordinary circumstances, such as extended evidentiary hearings or appeals,
the attorney may apply to the court for additional compensation for these services. Any such
application must be accompanied by an itemization of the services rendered, showing the date,
the time expended, and the identity of the attorney performing the services. The debtor must be
served with a copy of the application and notified of the right to appear in court to object.
2. Early termination of the case. Fees payable under the provisions set out above are not
refundable in the event that the case is dismissed, unless the dismissal is due to a failure by the
attorney to comply with the duties set out in this agreement. If a dismissal is due to such a failure
by the attorney, the court may order a refund of fees on motion by the debtor.
3. Retainers. The attorney may receive a retainer or other payment before filing the case, but may
not receive fees directly from the debtor after the filing of the case. Unless the following
provision is checked and completed, any retainer by the attorney will be treated as a security
retainer, to be placed in the attorney's client trust account until approval of a fee application by
the court.
   Any retainer received by the attorney will be treated as an advance payment, allowing the
attorney to take the retainer into income immediately. The reason for this treatment is the
following:
        The Debtor(s) and Attorney have entered into an advance payment retainer for pre-filing and pre-confirmation
work including, but not limited to, pre-filing bankruptcy advice, preparation of the petition and Chapter 13 plan,
pre-filing bankruptcy planning, filing of the case, and any amendments necessary for confirmation. Pre-filing work is
performed periodically as payments are received.

In any application for fees, whether or not requiring an itemization, the attorney shall disclose to
the court any fees paid by the debtor prior to the case filing.
4. Improper conduct by the attorney. If the debtor disputes the sufficiency or quality of the legal
services provided or the amount of the fees charged by the attorney, the debtor may file an
objection with the court and request a hearing.
5. Improper conduct by the debtor. If the attorney believes that the debtor is not complying with
the debtor’s responsibilities under this agreement or is otherwise not engaging in proper conduct,
the attorney may apply for a court order allowing the attorney to withdraw from the case.
6. Discharge of the attorney. The debtor may discharge the attorney at any time.
Date: November 17, 2011
Signed:
/s/ Deirdre C. Townsend                                                /s/ Andrew K. Weiss, Macey Bankruptcy Law
Deirdre C. Townsend                                                    Andrew K. Weiss, Macey Bankruptcy Law #6284233
                                                                       Attorney for Debtor(s)


Debtor(s)
Do not sign if the fee amount at top of this page is blank.
                                                 4
Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                 Best Case Bankruptcy
   Case 11-46569              Doc 1       Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                                           Document     Page 57 of 67




                                                                5
Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com             Best Case Bankruptcy
               Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09            Desc Main
                                                             Document     Page 58 of 67
B 201A (Form 201A) (11/11)



                                                 UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF ILLINOIS
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total Fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                     Best Case Bankruptcy
               Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09           Desc Main
                                                             Document     Page 59 of 67
Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total Fee $1046)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total Fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                    Best Case Bankruptcy
               Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                         Desc Main
                                                             Document     Page 60 of 67


B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
 In re     Deirdre C. Townsend                                                                               Case No.
                                                                                 Debtor(s)                   Chapter        13


                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Deirdre C. Townsend                                                                X /s/ Deirdre C. Townsend                     November 17, 2011
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                         Date

Case No. (if known)                                                                X
                                                                                       Signature of Joint Debtor (if any)        Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                                Best Case Bankruptcy
               Case 11-46569                  Doc 1         Filed 11/17/11 Entered 11/17/11 09:14:09                Desc Main
                                                             Document     Page 61 of 67




                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
 In re     Deirdre C. Townsend                                                                          Case No.
                                                                                  Debtor(s)             Chapter    13




                                                 VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                              56




           The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
           (our) knowledge.




Date: November 17, 2011                                                /s/ Deirdre C. Townsend
                                                                       Deirdre C. Townsend
                                                                       Signature of Debtor




Software Copyright (c) 1996-2011 CCH INCORPORATED - www.bestcase.com                                                       Best Case Bankruptcy
    Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                             Document     Page 62 of 67


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                      Advanced Radiology Consultants S.C.
                      520 E 22nd St
                      Lombard, IL 60148


                      Advocate Lutheran General Hospital
                      1775 Dempster St
                      Park Ridge, IL 60068


                      Alex Brothers Outpatient Group
                      1650 Moon Lake Blvd.
                      Hoffman Estates, IL 60169


                      Allied Interstate
                      3000 Corporate Exchange Dr
                      5th Floor
                      Columbus, OH 43231


                      AlliedInterstate
                      3000 Corporate Exchange Dr.
                      5th Floor
                      Columbus, OH 43231


                      Arrow Financial Services
                      5996 W Touhy Ave
                      Niles, IL 60714


                      Asset Acceptance
                      PO Box 2036
                      Warren, MI 48090


                      Bank of America
                      1422 E. Grayson
                      San Antonio, TX 78208


                      Bowman, Heintz, Boscia and Vician
                      8605 Broadway
                      Merrillville, IN 46410-7033


                      Capital Management Services, LP
                      726 Exchange St.
                      Suite 700
                      Buffalo, NY 14210
Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                         Document     Page 63 of 67



                  Capital One Bank
                  Attn: C/O TSYS Debt Management
                  Po Box 5155
                  Norcross, GA 30091


                  CBCS
                  PO Box 69
                  Columbus, OH 43216


                  Chase
                  Attn: Bankruptcy Dept
                  Po Box 100018
                  Kennesaw, GA 30156


                  Clinical Associates
                  1460 Market St.
                  Suite 300
                  Des Plaines, IL 60016-4643


                  Cook County Treasurer
                  118 N Clark St
                  Room 112
                  Chicago, IL 60602


                  Credit Collection Services
                  2 Wells Ave
                  Newton Center, MA 02459


                  Daimlerchrys
                  5225 Crooks Rd Ste 140
                  Troy, MI 48098


                  Dsnb Macys
                  Attn: Bankruptcy
                  6356 Corley Rd
                  Norcross, GA 30071


                  Enhanced Recovery Company LLC
                  8014 Bayberry Rd
                  Jacksonville, FL 32256


                  FMA Alliance
                  11811 North Freeway
                  Suite 900
                  Houston, TX 77060
Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                         Document     Page 64 of 67



                  FMS Inc
                  4915 S Union Ave
                  Tulsa, OK 74107


                  Ford Motor Credit Company
                  Ford Credit National Bankruptcy Ctr
                  Po Box 537901
                  Livonia, MI 48153


                  Freedman Anselmo Lindberg & Rapp
                  1807 W. Diehl Rd., Suite 333
                  PO Box 3228
                  Naperville, IL 60566-1487


                  Global Credit & Collection Corp
                  300 International Drive
                  Suite 100, Box 201
                  Buffalo, NY 14221


                  Grawbowski Law Center LLC
                  1400 E. Lake Cook Rd.
                  Suite 110
                  Buffalo Grove, IL 60089-8218


                  Helzberg Diamonds
                  4109 N Harlem Ave.
                  Norridge, IL 60706


                  Holy Family Medical Center
                  3147 West Cermak Rd.
                  Chicago, IL 60623


                  Hsbc/carsn
                  Po Box 9068
                  Brandon, FL 33509


                  Illinois Collection Se
                  8231 W. 185th St. Ste. 100
                  Tinley Park, IL 60487


                  Illinois Department of Revenue
                  Bankruptcy Section
                  Level 7-425, 100 W Randolph St
                  Chicago, IL 60106
Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                         Document     Page 65 of 67



                  IRS
                  Special Procedures - Insolvency
                  PO Box 7346
                  Philadelphia, PA 19101


                  Jefferson Capital Syst
                  16 Mcleland Rd
                  Saint Cloud, MN 56303


                  Kay Jewelers
                  Attention: Bankruptcy
                  Po Box 1799
                  Akron, OH 44309


                  Kohls
                  Attn: Recovery
                  Po Box 3120
                  Milwaukee, WI 53201


                  LVNV Funding
                  PO Box 740281
                  Houston, TX 77274


                  MCI
                  PO Box 4600
                  Iowa City, IA 52244-4600


                  Med Busi Bur
                  1460 Renaissance D
                  Park Ridge, IL 60068


                  MiraMed Revenue Group
                  PO Box 536
                  Linden, MI 48451


                  Monroe & Main
                  1112 7th Ave
                  Monroe, WI 53566


                  Mrsi
                  2250 E Devon Ave Ste 352
                  Des Plaines, IL 60018
Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                         Document     Page 66 of 67



                  Paragonway
                  2101 West Ben Whit
                  Austin, TX 78704


                  Park Dansan
                  113 W 3rd Ave.
                  PO Box 248
                  Gastonia, NC 28053


                  Park Ridge Anesthesiology
                  PO Box 1123
                  Jackson, MI 49204


                  Quest Diagnostics
                  PO Box 64804
                  Baltimore, MD 21264


                  Redline Recovery Services
                  2350 N Forest Rd
                  Suite 31B
                  Getzville, NY 14068


                  Resurgent Capital Service/Sherman Acquis
                  Attention: Bankruptcy Department
                  Po Box 10587
                  Greenville, SC 29603


                  Resurrection Medical Center
                  7435 W Talcott Ave
                  Chicago, IL 60631


                  Richard J Boudreau & Associates
                  5 Industrial Way
                  Salem, NH 03079


                  Stores National Bank
                  701 East 60th St.
                  Sioux Falls, SD 57104


                  Superior Asset Inc.
                  1000 Abernathy Rd.
                  Suite 165
                  Atlanta, GA 30328
Case 11-46569   Doc 1   Filed 11/17/11 Entered 11/17/11 09:14:09   Desc Main
                         Document     Page 67 of 67



                  Universal Fidelity LP
                  1445 Langham Creek Drive
                  Houston, TX 77084


                  US Dept of Education
                  501 Bleecker St
                  Utica, NY 13501


                  Wells Fargo
                  Po Box 60510
                  Los Angeles, CA 90060


                  Wells Fargo Ed Fin Svc
                  Attn: Collection Servicing, 1st Floor, M
                  1 Home Campus
                  Des Moines, IA 50328


                  Wfnnb/newport News
                  995 W 122nd Ave
                  Westminster, CO 80234


                  Work Finanacial Bank
                  Po Box 182125
                  Columbus, OH 43218
